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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA
                                SOUTHWESTERN DIVISION


UNITED STATES OF AMERICA                      )
                                              )
                       Plaintiff              )   Case No. 1:08-CR-26-DLH-CSM
               -vs-                           )
                                              )   AMENDED PROTECTIVE ORDER
MICHEAL L. FISHER, AMIEL                      )   ALLOWING LIMITED DISCLOSURE OF
SCHAFF, CLYDE FRANK                           )   RETURN AND RETURN INFORMATION
and FISHER SAND AND                           )   AND GRAND JURY MATERIAL
GRAVEL CO., INC.                              )
                                              )
                       Defendants.            )



       IT IS ORDERED that this Court's Protective Order Allowing Limited Disclosure of

Return and Return Information and Grand Jury Material (Rec. Doc. No. 59) is hereby amended

to permit Thomas Fisher to make one copy of the discovery in his possession, including the

Protected Discovery, and provide that copy to Thomas Fisher's Individual Counsel. The term

"Individual Counsel" as used in this amendment, means, Jonathan D. King, DLA Piper, Chicago,

Illinois, and any partners, associates, paralegals and office staff of DLA Piper directly involved

in the representation of Thomas Fisher in connection with this criminal case (the

"Representation").

       IT IS FURTHER ORDERED that Individual Counsel shall maintain the Protected

Discovery in their sole custody.

       IT IS FURTHER ORDERED that Individual Counsel is prohibited from copying,

distributing and/or disseminating the Protected Discovery to any person who is not directly
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involved in the Representation and for any purpose other than assisting in the Representation.

       IT IS FURTHER ORDERED that Jonathan D. King shall, within two days of the entry of

this Order, file with the Court a signed acknowledgment of this Order representing that

Individual Counsel agrees to be bound by the terms of this amended Order and that Individual

Counsel submits to the jurisdiction of this Court with respect to any violation and enforcement of

this amended Order.

       IT IS FURTHER ORDERED that with respect to any discovery provided to Individual

Counsel, said discovery shall be returned to the United States upon demand for destruction after

the completion of the proceedings in this case. Upon demand for the return of discovery,

Individual Counsel shall not retain any copies, electronic or otherwise, of any discovery.

       IT IS SO ORDERED.

       DATED: March 4, 2009.



                                             /s/ Charles S. Miller, Jr.
                                             Charles S. Miller, Jr.
                                             United States Magistrate Judge




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